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1                                       UNITED STATES DISTRICT COURT

2                                           DISTRICT OF NEVADA

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5
      DREW SANDERS,
6
                           Plaintiff,
7                                                           2:20-cv-01260-RFB-VCF
      vs.                                                   MINUTE ORDER
8     CREDIT ONE BANK, N.A., and Does 1-5,
9                           Defendants.

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11          Before the Court is Credit One Bank, N.A.’s Motion for Leave to File Supplemental Authority in
12   Support of Motion to Stay Discovery (ECF No. 20).
13          Accordingly,
14          IT IS HEREBY ORDERED that a video conference hearing on Credit One Bank, N.A.’s Motion
15   for Leave to File Supplemental Authority in Support of Motion to Stay Discovery (ECF No. 20) is
16   scheduled for 3:00 PM, November 17, 2020, in Courtroom 3D before U.S. Magistrate Judge Cam
17   Ferenbach.
18          IT IS FURTHER ORDERED that the parties must contact the Courtroom Administrator, Tawnee
19   Renfro at Tawnee_Renfro@nvd.uscourts.gov, and provide an email address for the video conference by
20   12:00 PM, November 16, 2020.
21          IT IS ORDERED that the following Video Conference Instructions be adhered to as follows:
22          INSTRUCTIONS FOR VIDEO CONFERENCE HEARING
23          Instructions to the scheduled hearings will be sent via email thirty (30) minutes prior to the hearing
24   to the participants email provided to the Court.
25          •       Log on to the call ten (10) minutes prior to the hearing time.
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1    •     Mute your sound prior to entering the hearing.

2    •     Do not talk over one another.

3    •     State your name prior to speaking for the record.

4    •     Do not have others in the video screen or moving in the background.

5    •     No recording of the hearing.

6    •     No forwarding of any video conference invitations.

7    •     Unauthorized users on the video conference will be removed.

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9    DATED this 5th day of November, 2020.
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10                                                      CAM FERENBACH
                                                        UNITED STATES MAGISTRATE JUDGE
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